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SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-07-447-CV



IN RE GERALD WAYNE JOHNSON	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.



PER CURIAM





PANEL &nbsp;B: &nbsp;DAUPHINOT, HOLMAN, and WALKER, JJ. 



DELIVERED: &nbsp;January 15, 2008 &nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




